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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

MONTANA MEDICAL
ASSOCIATION, et al.,                                  CV 21-108-M-DWM

                    Plaintiffs,

and
                                                          JUDGMENT
MONTANA NURSES
ASSOCIATION,

        Plaintiff–Intervenor,

vs.

AUSTIN KNUDSEN, et al.,

                 Defendants.


_____ Jury Verdict. This action came before the Court for a trial by jury. The
issues have been tried and the jury has rendered its verdict.

  X Decision by Court. This action came before the Court for bench trial,
hearing, or determination on the record. A decision has been rendered.

      IT IS ORDERED AND ADJUDGED that judgment is entered in accordance

with the Court’s Findings of Fact and Conclusions of Law (Doc. 162). Defendants

are permanently enjoined from enforcing Montana Code Annotated § 49-2-312 in

health care settings. Defendants are further enjoined from enforcing the law as it

relates to the COVID-19 vaccine against all health care facilities and individual
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practitioners and clinics subject to the Center for Medicare and Medicaid Services

Interim Final Rule so long as that Rule remains in effect.


      Dated this 9th day of December, 2022.

                                TYLER P. GILMAN, CLERK



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